  Case 3:19-cv-01155-DMS-AHG Document 23 Filed 11/05/20 PageID.87 Page 1 of 1




                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


Kenneth G. Edwards
                                                           Civil Action No. 19-cv-01155-DMS-AHG

                                             Plaintiff,
                                      V.
Robert L. Blanchard, Trustee of the                          JUDGMENT IN A CIVIL CASE
Blanchard Family Trust


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
Defendant’s motion to dismiss is GRANTED WITH PREJUDICE.




Date:          11/5/20                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ M. Exler
                                                                                     M. Exler, Deputy
